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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  BEAUFORT DIVISION

UNITED STATES OF AMERICA                          )    CRIMINAL NO. 9:22-658-RMG
                                                  )
                                                  )
                  v.                              )
                                                  )
                                                  )
 RUSSELL LUCIUS LAFFITTE                          )
                                                  )

    GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
                 FOR A DISTRICT-WIDE JURY PANEL

       Defendant Russell Lucius Laffitte is scheduled for a retrial beginning on May 5, 2025. He

cannot show good cause for a district-wide jury panel, and his motion should be denied. Interest

in his and related cases is nationwide, and exposure to media coverage has not been limited to the

Beaufort and Charleston Divisions. But this Court’s recent jury selection in Nautilus Insurance

Company v. Fleming et. al, No. 2:22-cv-1307-RMG, shows that voir dire is sufficient to ensure a

fair and impartial jury is drawn, and pretrial publicity will not hamper the Court’s ability to do so.

Moreover, Laffitte’s concerns with media coverage do not outweigh the burden and expense his

request would impose on the public and the Court. His alternative request for a venue transfer

should be denied for the same reasons.

                                         BACKGROUND

       In November 2022, Laffitte was tried and convicted before the Court of six counts charging

various financial crimes arising out of a conspiracy with Alex Murdaugh to steal client and bank

funds. The jury was selected in accordance with this District’s Jury Selection Plan, providing that

juries are to be drawn from the divisions that align with the proximate operating courthouse. In the

Matter of the Review of the Amended Jury Selection Plan Submitted by the United States District
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Court for the District of South Carolina (“District’s Jury Selection Plan”), 1 No. 3:24-mc-406-

RBH, ECF No. 2-1 at 6 (D.S.C. Oct. 4, 2024). The Court empaneled a fair and impartial jury drawn

from the Beaufort and Charleston Divisions. The Fourth Circuit overturned Laffitte’s convictions,

and the case is set for retrial.

                                       LEGAL FRAMEWORK

        Defendants have “neither a constitutional nor statutory right to a district-wide jury.” United

States v. Florence, 456 F.2d 46, 50 (4th Cir. 1972). Under the Jury Selection and Service Act, “all

litigants in Federal courts entitled to a trial by jury shall have the right to grand and petit juries

selected at random from a fair cross section of the community in the district or division wherein

the court convenes.” 28 U.S.C. § 1861. The Act “gives no right to a jury from the entire district

where there is a plan encompassing divisions.” Florence, 456 F.2d at 49. As the Fourth Circuit has

recognized, the validity of that restriction is well-established:

        [E]ven before the Act, district courts had power under 28 U.S.C.A. § 1865(a) (1966
        Ed.) to select jurors from ‘such parts of the district as the court directs so as to be
        most favorable to an impartial trial, and not to incur unnecessary expense or unduly
        burden the citizens of any part of the district with jury service.’ The validity of a
        selection less encompassing than districtwide was repeatedly upheld against attacks
        that a defendant was entitled to a jury selected from the entire district and not from
        just the division or area surrounding the place of trial where trial was held.

Id. “[B]oth district-based and division-based jury selections comport with the Sixth Amendment

right to trial by a fair and impartial jury randomly drawn from a fair cross-section of the

community.” United States v. McGregor, No. 2:10-cr-186-MHT, 2011 WL 1344189, at *3 (M.D.

Ala. Apr. 8, 2011) (citing Ruthenberg v. United States, 245 U.S. 480, 482 (1918); United States v.

Grisham, 63 F.3d 1074, 1081 (11th Cir. 1995)).




1 https://www.scd.uscourts.gov/StandingOrders/Jury/Jury_Selection_Plan.pdf


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         The District’s Jury Selection Plan says “[a] district-wide petit jury may be used when

ordered by the Chief Judge for good cause shown.” District’s Jury Selection Plan at 6.

                                           ARGUMENT

    I.      This Court’s recent jury selection in a related matter shows pretrial publicity will
            not jeopardize the ability to draw a fair and impartial jury from the Beaufort and
            Charleston Divisions.

         Laffitte cannot establish good cause to warrant a district-wide jury panel. As an initial

matter, Laffitte’s claim that a district-wide panel is needed because “it is unlikely that potential

jurors from” the Beaufort and Charleston Divisions—as opposed to those from the rest of the

district—“have remained uninfluenced by pretrial publicity,” Mot., ECF No. 366 at 15, is

unpersuasive. As Laffitte acknowledges, his and the other Murdaugh-related cases received

extensive statewide and national media attention. Id. at 2, 7. For example, his motion cites to “at

least thirteen books,” “[v]iral podcasts,” and blogs, all of which presumably have national

audiences. See id. at 9–10 (emphasis omitted). In fact, Laffitte himself participated in a two-part

interview released on YouTube the Friday before his first trial began and then during the trial.

They’ve garnered nearly 400,000 total views. 2 Interest in and coverage of Laffitte and Murdaugh’s

cases spans the nation. Exposure to that content is not limited to the Beaufort and Charleston

Divisions, and using a district-wide jury pool will not increase the odds of summoning potential

jurors who have not encountered coverage of the Murdaugh-related matters. 3



2 See https://www.youtube.com/watch?v=wZzT0KXGL2A;

https://www.youtube.com/watch?v=QxUFs_M4S8w.
3 Laffitte’s alternative argument—that his case calls for a district-wide jury pool because the

allegations against him “are of at least state-wide interest and the potential impact of the verdict in
this case extends well beyond the boundaries of Area C,” Mot., ECF No. 366 at 6—underscores
this point. Jurors outside of the Beaufort and Charleston Divisions are just as likely to have
encountered Murdaugh-related media coverage, and they are just as likely to be from communities
that might have an interest in the outcome of the case.
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       But more importantly, jurors “are presumed to be impartial, absent indications to the

contrary.” Wells v. Murray, 831 F.2d 468, 472 (4th Cir. 1987). And “the existence of a

preconception is insufficient to rebut this presumption if the juror can lay aside his impression or

opinion and render a verdict based on the evidence presented in court.” Poynter by Poynter v.

Ratcliff, 874 F.2d 219, 221 (4th Cir. 1989) (quotation marks omitted). Even if the potential jurors

called from the Beaufort and Charleston Divisions have seen reports on Laffitte’s case, as the cases

he cites indicate, the appropriate way to avoid juror bias based on pretrial publicity is “through

adequate voir dire examination of the jurors.” Wells, 831 F.2d at 472; Mu’Min v. Virginia, 500

U.S. 415, 427 (1991) (“[O]ur own cases have stressed the wide discretion granted to the trial court

in conducting voir dire in the area of pretrial publicity and in other areas of inquiry that might tend

to show juror bias. Particularly with respect to pretrial publicity, we think the primary reliance on

the judgment of the trial court makes good sense.”).

       This Court’s recent jury selection in Nautilus Insurance Company v. Cory Fleming et. al,

No. 2:22-cv-1307, shows that voir dire can easily ensure a fair and impartial jury is drawn from

the Beaufort and Charleston Divisions in a Murdaugh-related matter. The Nautilus case is a civil

matter in which Alex Murdaugh’s insurer sued Murdaugh coconspirator Cory Fleming and

Fleming’s law firm for various claims related to Murdaugh and Fleming’s theft of client funds.4

Like Laffitte, Fleming conspired with Murdaugh to steal money from clients. Fleming pleaded

guilty in federal court to conspiracy to commit wire fraud in May 2023. Like Laffitte’s

proceedings, Fleming’s attracted significant media attention.




4 Although Nautilus was a civil case, the question this Court asks of potential jurors in civil trials

is the same in criminal trials: can the potential juror be fair and impartial.


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       On January 6, 2025, 65 potential jurors from the Beaufort and Charleston Divisions

reported for jury selection for the Nautilus trial. 5 During voir dire, the Court read a brief factual

summary outlining the allegations against Fleming and Murdaugh and then asked the jury panel

whether anyone had heard or read about the case. 6 Of the pool of 65, only 19 potential jurors

reported having some knowledge of the case based on media coverage, including television,

newspaper, or podcasts. The Court asked those 19 potential jurors whether their prior knowledge

of the case impacted their ability to be fair and impartial. The Court excused only eight potential

jurors—12.3% of the jury pool—based on their responses.

        Given that less than a third of the jury panel reported having any knowledge of a Murdaugh

coconspirator’s case from media coverage, and that more than half of those individuals represented

that they could remain fair and impartial, Laffitte has “provided no suitable evidence that a fair

and impartial jury cannot be drawn” from the Beaufort and Charleston Divisions. See McGregor,

2011 WL 1344189, at *3 (citing Fed. R. Crim. P. 21 (a “court must transfer the proceeding . . . to

another district if the court is satisfied that so great a prejudice against the defendant exists in the

transferring district that the defendant cannot obtain a fair and impartial trial there”); Skilling v.

United States, 561 U.S. 358, 377 (2010) (“The Sixth Amendment secures to criminal defendants

the right to trial by an impartial jury.”)). The Nautilus jury selection directly undermines Laffitte’s

argument that “pervasive and prejudicial media coverage” in the Lowcountry “will make it

difficult for Mr. Laffitte to receive a fair and impartial trial in the Beaufort Division.” Mot., ECF

No. 366 at 8. Through voir dire, the Court can ensure—as it did in Nautilus and in Laffitte’s first

trial—that his case is tried in front of a fair and impartial jury.


5 The Court shared the relevant information regarding the Nautilus jury selection with the parties

via email on February 12, 2025.
6 The parties received a rough transcript of jury selection from the court reporter.


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    II.      The interests of the public and the judicial system weigh against a district-wide
             jury panel.

          As Judge Learned Hand explained in 1948, “the district and circuit courts have had power

since the first Judiciary Act of 1789 to divide a district territorially in the interest of an impartial

trial, of economy, and of lessening the burden of attendance.” United States v. Gottfried, 165 F.2d

360, 364 (2d Cir. 1948). The Fourth Circuit echoed the importance of those interests in 1972, citing

district courts’ power “to select jurors from such parts of the district as the court directs so as to be

most favorable to an impartial trial, and not to incur unnecessary expense or unduly burden the

citizens of any part of the district with jury service.” Florence, 456 F.2d at 49 (quotation marks

omitted). Laffitte’s claimed interests in a district-wide panel do not outweigh the interests of the

Court and the public in selecting a jury drawn according to the District’s Jury Selection Plan.

          Jury selection plans seek to ensure a fair and impartial trial while also minimizing

unnecessary expenses and the burden—particularly on jurors—of attending court in distant

locations. See id. at 49. In accordance with those long-recognized interests, the District’s Jury

Selection Plan serves “to minimize juror travel time and cost to the court . . .” District’s Jury

Selection Plan at 6. But a district-wide jury panel in this case would require jurors to travel from

distant parts of the state and remain in Charleston—away from their homes and families—for

weeks, at significant personal expense to the jurors and significant financial expense to the Court.

Laffitte’s claim that “it is unlikely that potential jurors from [the Beaufort and Charleston

Divisions] have remained uninfluenced by pretrial publicity,” Mot., ECF No. 366 at 15 (emphasis

added), does not outweigh the clear and undeniable burden and expense his request would impose




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on the public and the Court. 7 Laffitte cannot demonstrate good cause to overcome the long-

recognized interests undergirding the District’s Jury Selection Plan.

    III.      Laffitte’s alternative request that the Court transfer venue should be denied for
              the same reasons.

           “It is well settled that a change in venue for the selection of a jury in a criminal case is

warranted only where the prejudice against the defendant is so great that the defendant cannot

obtain a fair and impartial trial.” Moore, No. 2:13-cr-330-RMG, ECF No. 284 at 1 (citing Fed. R.

Crim. P. 21(a)). “The determination of whether a change of venue is required as a result of pretrial

publicity involves a two-step process.” United States v. Higgs, 353 F.3d 281, 307 (4th Cir. 2003).

“First, the district court must determine whether the publicity is so inherently prejudicial that trial

proceedings must be presumed to be tainted, and, if so, grant a change of venue prior to jury

selection.” Id. (quotation marks omitted). However, “[s]uch a finding should be made ‘only in

extreme circumstances’ and the far more preferable course is for the trial court to conduct voir dire

and determine if actual prejudice exists.” Moore, No. 2:13-cr-330-RMG, ECF No. 284 at 1

(quoting Higgs, 353 F.3d at 307–08; United States v. Bakker, 925 F.2d 728, 733 (4th Cir. 1991))

(alteration omitted). Second, “[i]f voir dire reveals that an impartial jury cannot be impanelled, the

trial court should then grant the motion.” Higgs, 353 F.3d at 308.

           As discussed above, these are not the “extreme circumstances” in which a court could

reasonably presume that pretrial publicity “is so inherently prejudicial that trial proceedings must



7 Laffitte’s identification of two cases in the past 21 years that have used district-wide jury pools

does not, as he claims, demonstrate “South Carolina district courts’ propensity to grant requests
for a centralized jury panel when a case is of statewide interest.” See Mot., ECF No. 366 at 19.
Indeed, this Court has presided over cases of statewide and national interest and found voir dire
sufficient to ensure the defendant was tried in front of a fair and impartial jury. E.g., United States
v. Roof, No. 2:15-cr-472-RMG, ECF No. 255 at 1–2 (D.S.C. July 18, 2016) (attached as Exhibit
A); United States v. Moore, No. 2:13-cr-330-RMG, ECF No. 284 (D.S.C. Nov. 21, 2013) (attached
as Exhibit B).
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be presumed to be tainted.” See id. at 307. Laffitte’s claim that it is “unlikely that potential

jurors . . . have remained uninfluenced by pretrial publicity,” Mot., ECF No. 366 at 15, is

insufficient to make that showing. And the Nautilus jury selection demonstrated that a fair and

impartial jury panel can easily be drawn from the Beaufort and Charleston Divisions despite the

media interest in Murdaugh-related cases. As the Fourth Circuit explained in Higgs, and as this

Court agreed in Moore, the proper course is to proceed with jury selection as directed by the

District’s Jury Selection Plan and ensure through voir dire that a fair and impartial jury is drawn.

                                         CONCLUSION

        Laffitte’s motion for a district-wide jury panel or, in the alternative, an intra-district

transfer, should be denied.

                                              Respectfully submitted,

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